                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

In re:                                         )
                                               )
LIVINGSCAPES, LLC                              )    Bk. Case No. 3:20-bk-03561
                                               )    Chapter 11
                              Debtor.          )    Judge Charles M. Walker



    NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF DOCUMENTS



The United States Trustee for the Middle District of Tennessee, Region 8, through undersigned
counsel, hereby files this Notice of Appearance in accordance with Fed. R. Bank. Pro. 2002 and
5005, and requests notice of all pleadings, documents and papers filed in this case, and all
underlying and related proceedings.

Pursuant to Local Rules of Court and the Administrative Procedures for Electronic Case Filing,
electronic notice should also be sent to: Jeffrey.S.Grasl@usdoj.gov.

Paper mailing for the first pleading initiating a potential LBR 9013 contested matter must be sent
in accordance with the Federal Rules of Bankruptcy Procedure to:

Jeffrey S. Grasl
Trial Attorney
Office of the United States Trustee
701 Broadway, Ste 318
Nashville, TN 37203


                                             Respectfully Submitted,

                                              /s/ Jeffrey S. Grasl (MI #P62550)
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